             Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 1 of 13 PageID  #: 183
                                                                                     FILED




                                                                 BI
                                                                                                                         CLERK

                                                                                                       9/30/2022 10:09 am
                                                                                                         U.S. DISTRICT COURT
                                                                                                    EASTERN DISTRICT OF NEW YORK
                                                      BERKMAN HENOCH                                     LONG ISLAND OFFICE
                                                       P ETERSON &             PEDDY, PC
Joseph £. Mac;y•                Bruce J. Bergman                                                              D.uuel J. Eveis      EJeen M. Rym
                                                             A tt o r n ey s   21   L aw
Rudolf]. Karv.iy                Keith D. Black                                                                 MamS.Kolb            Iundy Schaefer
Roben A. Carruba                Vinson]. Fri.Jinan                                                      Megan K. McNamara              R:ij dai Singh
Gregory P. Peceoon              Christina Jonathan                                                         Novica Pea:ovski      Nicholas Tulfuelli
Gary H. FrieJenbcrg (19~2022)   Pesia M. K.inraich       100 Garden City Plaza, Third Floor                    Hillary Prada    Chriscopber P. Ulto
                                Donna A. Napolitano        Garden City, New York 11530                                               Martin.ll. Valk
                                Kenneth M . Sitdcll
                                Peter Sullivan               Telephone: (516) 222-6200
COUNIIL                                                      Facsimile: (516) 222-6209
S<evenJ. PeJdy                                               Website:   www.bhpp.com
MJriam R. Milgrom
Amb. J0<eph N. Mondello (1938-2022)                                  September 29, 2022
MaryBeth Malloy
Terence E.   S"'VitECF
              Hon. Gary R. Brown, U.S.D.J.
              United States District Court
              100 Federal Plaza
              Central Islip, New York 11722

                                                           RE:       Paul Schultz, et al. v. The County of Suffolk
                                                                     Docket No.: 19-cv-00361 (GRB)(SIL)

              Dear Honorable Judge Brown:

                     As the parties have previously advised the Court, this matter has been settled. Pursuant
              to General Municipal Law §6-n(9)(b), insofar as the settlement amount of $341,506.49 exceeds
              the $25,000 statutory limit set forth by law, the settlement must be judicially approved prior to
              payment.

                    Attached for the Court' s consideration is a letter from Plaintiffs' counsel, Andrew J.
              Campanelli, Esq., which confirms his consent to the settlement, and a letter which confirms
              approval of the settlement by the Ways & Means Committee of the Suffolk County Legislature.

                          An Order for the Court's signature is also attached.

                     Please advise if the Court requires any further information prior to the approval of the
              settlement.

                          Thank you.
                                                                     Respectfully Submitted,

                                                                     Berkman, Henoch, Peterson & Peddy, P.C.

                                                                     By: _ _ ____;/=s'/--- -- -- - -
                                                                          Joseph E. Macy
              JEM/jlc
              Enclosures

              cc:         Andrew J. Campanelli, Esq., via ECF

 ' Admitttd in New York and Fk>rida
i ..   ,=----
                Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 2 of 13 PageID #: 184



                                                 CAMPANELLI & ASSOCIATES, P.C.
                                                   ATTORNEYS AND COUNSELORS AT LAW                      www.cam~llipc.com .

                                            1757 Menick Avenue · Suite 204 · Merrick, New York 11566
                     Andicw J. Campanelli
                                                            Telephone (516)746-1600                    COUNSEL
                     MemberofNY&CTB1r                      Facsimile (516) 746-2611
                                                                                                       GCO!iCB. McPhilliJ;6
                     Jean M. Smyth                                                                     19.J0-1994



                                                                     August 29, 2022



                    Joseph E. Macy, Esq.
                    Special Counsel for Suffolk County
                    Berkman, Henoch, Peterson & Peddy, P.C.
                    100 Garden City Plaza
                    Garden City, New York 11530

                    Re:       Paul Schultz, et al. v. The County o(Sufjolk
                              Docket No. 19-cv-00361(GRB)(SIL)


                    Dear Mr. Macy:

                    Please allow this letter to certify that the undersigned accepts the settlement offer of three
                    hundred forty one thousand five hundred six dollars, forty nine cents ($341,506.49) on behalf of
                    my clients in the above- captioned action.

                                                                     Very truly yours,




                                                                     By:
  Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 3 of 13 PageID #: 185

                         OFFICE OF THE COUNTY LEGISLATURE                                 '
                                         COUNTY OF SUFFOLK




ROBERT TROlTA                                                           159 LANDING AVENUE
LEGISLATOR, 13TH DISTRICT                                               SMrrHTOWN, NY 11787
                                                                        (831) 854-3900
                                                                        FAX (631) 884-3903
                                                                        ...mail: Robert.Trotta@suffotkc:ountyny.gov




     September 1, 2022

     Susan A. Flynn
     Deputy County Attorney
     P.O. Box 6100
     H. Lee Dennison Building
     100 Veterans Memorial Highway
     Hauppauge, New York 11788


     Re: (Schultz, Paul; Jempath, Inc., et al v. County of Suffolk)

     Dear Ms. Flynn:

     This letter will confirm that at the September 1, 2022 meeting of the Ways and Means
     Committee of the Suffolk County Legislature, settlement of the above captioned matter by the
     County's contribution of the sum of $341,506.49 (three hundred forty.one thousand. five
     hun~ six dollars five hundred dollars and forty-nine cents) was authorized.


     ~~                  ./
     Roi!r~~- -
     Suffolk County Legislator
     Chair, Ways and Means Committee
Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 4 of 13 PageID #: 186



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------------X
 PAUL SCHULTZ, JEMPATH INC., CARINA'S FINE
 JEWELRY LLC and BRICKSTONE BUYING
 SERVICES INC.,                                                              19-cv-00361
                                                                            (GRB)(SIL)
                                             Plaintiffs,
                  - against -

 THE COUNTY OF SUFFOLK,                                                     SETTLEMENT
                                             Defendant.                     AGREEMENT

 -----------------------------------------------------------------------X


        The plaintiffs and defendant in the above-referenced action, by their respective counsel,
 hereby agree to a consolidated settlement of the above-captioned lawsuit under the following
 terms and conditions:

 1.      The defendant does not admit and specifically denies any liability, wrongdoing, or
 violation of any law, statute, regulation, agreement, or policy. It is expressly understood and
 agreed that this settlement agreement (and exchange of general releases) is being entered into
 solely for the purpose of resolving this lawsuit and any and all matters in controversy, disputes,
 causes of action, claims, contentions, grievances, and differences of any kind whatsoever
 between the parties.

 2.     As full and final settlement and final satisfaction of any and all claims that plaintiffs had,
 have, or may have against the defendant, including but not limited to claims raised in the instant
 lawsuit, the defendant will pay to plaintiffs the combined gross amount of three hundred forty
 one thousand five hundred six dollars, forty nine cents ($341,506.49) (hereinafter the "settlement
 sum"), which is inclusive of any and all counsel fees, interests, costs, and disbursements. Said
 sum shall be tendered to plaintiffs' counsel by check made payable to "Campanelli & Associates,
 P.C. as Attorneys," and the defendant shall cause such check to be received by plaintiffs counsel
 on or before Friday, September 30, 2022.

 The $341,506.49 settlement sum represents the total payment of the specific amount as follows:

         In the matter of Schultz et al. v. County of Suffolk, the sum of$196,697.31 for
         compensatory damages, plus $144,809.18 for statutory attorneys fees pursuant to
         42 u.s.c. §1988.

         Plaintiffs' counsel represents that they have already disclosed to each of their clients the
         respective amounts they are to receive individually as part of this settlement, and each of
         their clients have agreed to same.
Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 5 of 13 PageID #: 187




          Plaintiffs' counsel shall be exclusively responsible for the division and distribution of the
          respective compensatory damage sums payable to each client in the above-referenced
          cases, pursuant to the firm's separate written retainer agreements with each of their
          clients.


3,        On or before December 1, 2022, the defendant shall either

          (a)      replace the Article Tracking System (ATS) currently being operated and
                   maintained by the Suffolk County Police Department with the technology service
                   known as LeadsOnline, or

          (b)       install one or more computer patches, or shall otherwise modify the operating
                    software of the ATS system, (i) to enable precious metals dealers to enter all
                    transaction data they are required to enter under the requirements of the Suffolk
                    County Code. just once, directly into the ATS System, and (ii) to enable precious
                    metals dealers to correct any false data or entries contained within the records
                    being recorded, at the time they are being recorded.


4.     It is hereby stipulated and agreed by the plaintiffs and the defendant by their undersigned
attorneys that upon the payment of the amount set forth within paragraph "2" herein above, the
clearance of check through which payment of such amount is tendered, and the completion of
performance of the additional obligations of the defendant under this agreement, as detailed
within paragraphs "3" and "4" herein above, the above-entitled lawsuits shall be discontinued
with prejudice, without any additional cost to any party as against the other.

6.      By signing this agreement, plaintiffs agree that they will be exclusively responsible for
the payment of any taxes which may be owed on any amounts paid to them under the terms of
this agreement. Defendant and its insurers (if any) make no representation as to the taxability of
the amounts paid to the plaintiffs. Plaintiffs agree to pay any federal, state, or local taxes, if any,
which are required to be paid with respect to the settlement.

 7.      The parties additionally agree that they shall exchange mutual general releases, each
 releasing the other from any and all claims of any kind and/or nature whatsoever.

 8.      Entire agreement: This agreement contains the entire agreement between the plaintiffs
 and defendant and supersedes and replaces any prior agreements or understandings between the
 parties, whether written or oral.

 Dated:         September 6, 2022
                Merrick, New York.




                                                     2
I • : • ...,,,. •• ••

                        Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 6 of 13 PageID #: 188




'I
 i
 i         "
                                ~ f,, 4,;,
                             JOSH CY.ESQ, ·
                             BERKMAN, HENOCH, PETERSON & PEDDY, P.C.
                             Attorneys for Defendant
                             100 Garden City Plaza, Third Floor
                             Garden City, NY 11530
                             (516) 780-0258




                             CAMPANELLI & ASSOCIATES, P.C.
                             Attorneys for the Plaintiffs
                             1757 Merrick Avenue, Suite 204
                             Merrick, New York 11556
                             (516) 746-1600




                                                              SO ORDERED:    9/30/ 2022

                                                               1s/ Gary R. Brown
                                                              HON. GARY R. BROWN




                                                                3
Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 7 of 13 PageID #: 189



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------------X
 PAUL SCHULTZ, JEMPATH INC., CARINA' S FINE
 JEWELRY LLC and BRICKSTONE BUYING
 SERVICES INC.,                                                              19-cv-00361
                                                                            (GRB)(SIL)
                                             Plaintiffs,
                  - against-
                                                                            ORDER ISSUED
                                                                            PURSUANT TO G.M.L. §
                                                                            6-N APPROVING
                                                                            SETTLMENT
 THE COUNTY OF SUFFOLK,

                                             Defendant.

 -----------------------------------------------------------------------X

 PRESENT: Non. Gary R. Brown, U.S.D.J.

         WHEREAS, an application has been made to the undersigned by defendant County of

 Suffolk, in the captioned action for an Order approving a settlement of the action pursuant to

 Section 6-n of the General Municipal Law of the State of New York, for the sum of ONE

 HUNDRED NINETY-SIX THOUSAND, SIX HUNDRED NINETY-SEVEN DOLLARS AND

 THIRTY-ONE CENTS ($196,697.31) compensatory damages together with statutory attorney's

 fees of ONE HUNDRED FORTY-FOUR THOUSAND EIGHT HUNDRED NINE DOLLARS

 AND EIGHTEEN CENTS ($144,809.18), pursuant to 42 U.S.C. § 1988 for a combined total of

 THREE HUNDRED FORTY-ONE THOUSAND FIVE HUNDRED SIX DOLLARS AND

 FORTY NINE CENTS ($341 ,506.49).

         NOW, upon reading and filing:

         a) the letter of Joseph E. Macy, Esq., as Special Counsel to Suffolk County dated

             . September 29, 2022;
Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 8 of 13 PageID #: 190



         b) the General Release signed by plaintiffs, PAUL SCHULTZ, JEMPATH, INC.,

             CARINA'S FINE JEWELRY LLC and BRICKSTON BUYING SERVICES INC.;

         c) the letter of plaintiffs' attorney, Andrew J. Campanelli, Esq., agreeing to settlement;

             and,

         d) the letter of Robert Trotta Chair of the Suffolk County Ways & Means Committee for

             the Suffolk County Legislature, approving settlement of the claim; and,

       It appearing to the satisfaction of this Court from all prior proceedings had herein, that the

 proposed settlement of THREE HUNDRED FORTY-ONE TIIOUSAND FIVE HUNDRED SIX

 DOLLARS AND FORTY-NINE CENTS (341,506.49), to be paid by defendant, County of

 Suffolk, is just reasonable and in the best interest of Suffolk County and the plaintiffs;

       IT IS, therefore, on the application of defendant, County of Suffolk, and with the consent of

 the plaintiffs' attorney;


       THEREFORE ORDERED that said settlement is hereby approved and shall be disbursed in

 the following manner:


       ORDERED, that the settlement of the captioned matter for the amount THREE HUNDRED

 FORTY-ONE THOUSAND FIVE HUNDRED SIX DOLLARS AND FORTY-NINE CENTS

 (341 ,506.49), inclusive of all costs, disbursements and attorney's fees, to be paid to plaintiffs,

 PAUL SCHULTZ, JEMPATH, INC., CARINA' S FINE JEWELRY LLC and BRICKSTON

 BUYING SERVICES INC., and their attorneys, Campanelli & Associates is approved, and the

 application for said approval is hereby granted.
Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 9 of 13 PageID #: 191




                                 SO ORDERED.

                                   ENTER:
                        Is/ Gary R. Brown

                           Hon. Gary R. Brown, U.S.D.J.
                                        Dated: 9/30/2022
Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 10 of 13 PageID #: 192




              TO ALL TO WHOM THESE PRESENT S SHALL COME OR MAY CONCERN ,

KNOW THAT
                                          PAUL SCHULTZ ,
                                                                                     as RELEASOR,
in consideration of the sum of

                                         Ten· Dollars·($10.00) ·

and other good and valuable consideration,

received from
                         THE COUNTY OF SUFFOLK, a municipal corporation
                                                                                     as RELEASEE,
receipt whereof is hereby acknowledged, releases and discharges

       THE COUNTY OF SUFFOLK, its members, elected officials, directors, agents, managers,
employees, subsidiaries, affiliates, administrators, successors and assigns from all actions, causes of
action, suits, debts, dues, sums of money, accounts, reckonings, bonds, bills; specialties, covenants ,
contracts, controversies, agreements, promises, variances, trespasses, damages, judgments, extents,
executi_ons, claims, and demands whatsoever, in law, admiralty or equity, whicli against the
RELEASEE, the RELEASO R, RELEASOR'S directors, officers, shareholders, employees , agents·,
servants, administrators, successors and assigns ever had, now have or hereafter ca,:i , shall or may,
have for, upon or by reason of any matter, cause or thing whatsoeve r from the beginning of the world
to the day of the date of this RELEASE.

       Whenever the text hereof requires, the use of singular number shall include the appropriate ·
plural number as the text of the within instrument may require.

       This RELEASE may not be changed orally.

       IN WITNESS WHEREOF , the RELEASOR has hereunder set RELEASOR'S hand and seal on

the   q11f    day of   Seofemb
                         I
                              ec , 2022.

IN PRESENCE OF:


                                                                   PAUL SCt:iULTZ


STATE OF NEW YORK, COUNTY OF                           I   ss.:

        On   Sep/em hec q ,         2022, befor~ me, personally came PAUL SCHULTZ, to me known
 and kn~wn to .'me to be the individual(s) described in,.and who executed the fore oing R;LEASE, and
·duly acknowledged to me that he executed the same.
Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 11 of 13 PageID #: 193


8111-General Release by CorPoration:6-76


                   TO ALL TO WHOM THESE PRESENTS SHALL COME OR MAY CONCERN,
KNOW THAT

        JEMPATH INC.,
                                                                                                                 as RELEASOR,
A Corporation organized under the laws of the State of New York
in consideration of the sum of                                               ·

                                     Ten· Dollars ($10.00),

and other good and valuable consideration
received from

         THE COUNTY OF SUFFOLK, a municipal corporation                                                          as RELEASEE,

receipt whereof is hereby acknowledged , releases and discharges

       THE COUNTY OF SUFFOLK, its members, elected officials, directors, agents, managers, em- ·
ployees, subsidiarie·s, affiliates, administrators, successors and assigns from all actions; causes of ac-
tion, suits, debts, dues, sums of money, accounts, reckonings, bonds, bills, specialties, covenants,
contracts, controversies, agreements, promises, variances, trespasses, damages, judgments, ·extents,
executions, claims, and demands whats~ver, in law, admiralty or. equity, which against· the RE-
LEASEE, the RELEASOR, RELEASOR'S directors, officers, shareholders, employees, agents, serv-
ants, administrators, successors and assigns ever had, now have or hereafter can, shall or may, have
for, upon or by reason of any matter, cause or thing whatsoever from the beginning of the world to the
day of the date of this RELEASE.                             .

        Whenever the text hereof requires, the use of singular number shall inclode the appropriate
 plural number as the text of the within instrument may require . .

         This RELEASE may not be changed orally.

        IN WITNESS WHEREOF, the RELEASOR has·caused this RELEASE to be executed by its duly
 authorized officers and its corporate seal to be hereunto affixed on Sepfe,nher 9 , 2022 '

 IN .PRESENCEOF:                                                         .                -~-~~~             0
                                                                                                                 c----_
                                                                                          By. ~ - ) \            2-=
                                                                                                  n O ,cer
 STATE OF NEW YORK, COUNTY OF                                                    , ss.:

     O~        Se.pfewibec '1                                  ,
                                    2022 before me personally came Pa.u.l                           to   Scbc.d f-3
 me known, who, by                                 me
                                  duly sworn, did depose and say that deponent resides at
· -45 3hore.  Ed Ami  tuvi\k ~doll'lo: I that deponent is the                     ,'deu             of Pre~       t
  JEMPATH INC., the torpbra n described in, and which executed the foregoing RELEASE, that de-
  ponent knows the seal of the corporation, that the seal affixed to the RELEAS     the corporate seal,    Is
  that it was aff1Xed by order of the board of Directors of the Corporation; a  that deponent signed
  deponent's name by like order.
               ?           "'•~--.._..
                   • -· • .. • - •

                    f'.d./.)PEW J -· _ c      · ----
               N01A,".!y Pua·        · -AMP1\N1::u .,
                               UC, STATE or- N

              I
                   H0gkfre1;0 11 No
                               .
                        Q Ui'lliOed
               C:01r11nrs~1•0n E . .
                             ~
                                    in Nas . •
                                              l:W YORK
                                        · XX-XXXXXXX
                                           sau County
                                      ;'f.)/1 '"
                                                              ~--    -
                                                                       l'\
                                                                                             NOTARY PUBLIC

              --
               .
                    - - - ~ · ..,.,

                                                                      --
                                                         Marci] 1. 20 '-:,
                                                   ........
                                                                                                                  · r-- .-- ~ - _ ....,,.....

Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 12 of 13 PageID #: 194                                           I




Blll- General Re lease   by   Corporat ion:6-76


         TO ALL TO WHOM THESE PRESENTS SHALL COME OR MAY CONCERN,
KNOW THAT

         CARINA'S FINE JEWELRY LLC,
                                                                                                   as RELEASOR, ..
A Limited Liability Company organized under the laws of the State of New York
in .consideration of the sum of

                                Ten Dollars ($10.00),

and other good and valuable consideration
received from

         THE COUNTY OF SUFFOLK, a municipal corporation                                            as RELEASEE,

receipt whereof is herel;>y acknow.ledged, releases·and discharges

    · THE COUNTY OF SUFFOLK, its members, elected officials, directors, agehts, mahagers, em-
ployees, subsidiaries, affiliates, administrators, successors and assigns from all actions, causes bf ac-
tion, suits, debts,· dues, sums of money, accounts, reckonings, bonds, bills, specialties, cov~nants,
contracts, controversies, agreements, promises; variances, trespasses, damages, judgments, extents,
executions, . claims, and demands whatsoever, in law, admiralty or equity, which against the RE-
LEASEE, the RELEASOR, RELEASOR'S directors, officers, shareholders, employees, agents, serv- ·
ants, administrators, successors and assigns ever had, now have or hereafter can, st-iall or may, have
for, upon or by reason of any matter, cause or thing whatsoever from the beginning of the world to the
day of the date of this RELEASE.             .

.      Whenever the text hereof requires, the use of singular number shall include the appropriate
plural number as the text of the within instrument may require.

          This RELEASE.may not be changed orally.

        IN WITNESS WHEREOF, the RELEASOR has caused this RELEASE to be executed by its duly
 authorized members and its company seal to be hereunto-affixed on ..,,,......" ""· ber , 2022

 IN PRESENCE OF:




 STATE OF NEW YORK, COUNTY OF                                             , ss.:

        On       Sepfembe< 9 ,     2022 before me personally came              u...\      Pa   $cb u l
                                                                                              f-~         to
 me known, who, by me duly sworn, did depose and say that deponent esides at

 CARINA'S Fl E JE
                 ~iJ
  1s .Shore hni ~ lie NY. /1:fcJ ; that deponent is the t,\o.1o~ no. MeM1ec of
                       LRY [LC, the Limited Liability Company described in,                    a
                                                                                        w~ich executed the
 foregoing 1RELEASE, that deponent knows the seal of the corporation, that the seal affixed to the RE-
 LEASE is the corporate seal, that it was affixed by order of the board of Directors of the Limited Liability
 Company; and that deponent signed deponent's name by like order.                    ,.   ·

                  i:,.· .·~~;oRGvvu:::iw;;-:~--~-~~]                               L~   ~
                                                       :"•,~~u., .
                 I l,Oln!~ Y:··uauc. s. 11\TE O
                        RGg1a1,i::,ion No. 30-sob N':" W YORI,
                          Quafffied in Nassa 38 14
                 l Comrni:3:;k,n Exr,ir       u County
                  - -=-----...:..'_:,:......__·~•--...-..
                                              M~r,;;l't 1, 20"tJ
                                                            ......:::::
                                                                                   NOTARY PUBLIC
Case 2:19-cv-00361-GRB-SIL Document 52 Filed 09/30/22 Page 13 of 13 PageID #: 195

 8111-Gen eral Release by Corpor ation:6-1 6


                      TO ALL TO WHOM THESE PRESENTS SHALL COME OR MAY CONC
                                                                           ERN,
 KNOW THAT

          BRICKSTONE BUYIN G SERVICES, INC.,                                                                     I
                                                                                           as RELEASOR,
 A Corporation organized under the laws of the State of New York
 in consideration of the sum of                                                                                  I
                                Ten Dollars ($10.00),                                                            I
 and other good and valuable consideration
 received from                                                                                                   I
         THE COUN TY OF SUFFOLK, a municipal corporation
                                                                                           as RELEASEE,          I
 receipt whereof is hereby acknowledged , releases and discharges
                                                                                                                 I
        THE COUNTY OF SUFFOLK, its.mem bers, elected officials, directo rs,
                                                                                      agents, managers, em-
 ployees, subsidiaries, affiliates, administrators , successors and assign
 tion, suits, debts, dues, sums of money, accounts, reckonings, bonds,
                                                                           s from all actions , causes of ac~    I
                                                                               bills, specialties, covenants,
 contracts, controversies, agreements, promises, variances, trespas ses,
                                                                             damag es, judgments, extents,
 executions, claims, and deman ds whatsoever, in law, admiralty or
                                                                           equity, which against the RE- .
                                                                                                                 I
 LEASEE, the RELEASOR, RELEA SOR'S directors, ·officers , shareholders,
                                                                                   employees, agents, serv-
 ants, administrators , successors and assigns ever had, now have or hereaft
 for, upon or by reason of any matter , cause or thing whatsoever from the
                                                                                   er can, shall or may, have    I
                                                                               beginning of the '!"orld to the
 day of the date of this _RELEASE.
                                                           '
                                                                                                                 I
       · Whene ver the text hereof require s, the use of singular numbe r shall                    '
                                                                                include the appropriate
 plural number as the text of the within instrument m_ay require.
                                                                                                                 I
     · This REL EASE may not be .changed ·orally.
                                                                                                                 I
       IN WITNESS WHEREOF, the RE LEASOR has caused this RELEA SE to be execut
                                                                               ed ·by its duly
authorized officers and its compa ny seal .to be hereunto affixed on
                                                                     b r , 2022                                  I
IN PRESENCE OF:




STATE OF NEW YORK, COUN TY OF                                    , ss.:

   · On ~ep:t€.fYI Cf          be,   , 2022 before me personally came         Pcu. d           f:-=i
                                                                                       Scl-ll/2{            to
me known,. who, by me               duly sworn, . did depose and say that depone nt -feside s at
 ::15~re.   Rol.M'4vrlle,  N.Y.. 1'1o 1 ;    that   deponent      is     the     Pces<de.vi+ . ·            of
 BRICKSTOr'JE BUYING SERVI CES, INC., the Corporation describ ed
                                                                            in, and which executed the fore-
 going RELEASE, that depone nt knows the seal of the corporation , that
                                                                            the seal affixed to the RELEASE
 is the corporate seal, that it was. affixed by order of the board of Directo
                                                                              rs of th ··Corporation; and that
·deponent signed depone nt's name by like order.

          ..,_., .   AhJDr:1:.:w J.   CAJ'\i/Ri:\NFlu-J
           NOTAnY ~~B~1c, STATE o r- NEW YORI<


         l       Rt.-g~,rattoo No. XX-XXXXXXX
                  Qualined 111 Nas:;au County
           Con-imJ:.:::ion
           ...__..._.   __-f:xpires
                            __   .       M..:llCh 1. 2Q 'l. 3
                                    ...___..,._ .      -::-::,
